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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


 THE HONORABLE ORDER OF
 KENTUCKY COLONELS, INC.,                                                             Plaintiff,

 v.                                                         Civil Action No. 3:20-cv-132-RGJ

 KENTUCKY COLONELS
 INTERNATIONAL et al.,                                                            Defendants.


                                          * * * * *

                                           ORDER

       Pro se Defendant David J. Wright filed an application to appeal in forma pauperis without

payment of the filing fee. [DE 133]. On review, the Court finds Wright makes the financial

showing required to waive the appellate filing fee under Fed. R. App. P. 24. As required by Fed.

R. App. P. 24, Wright attached an affidavit that shows the detail prescribed by Form 4 of the

Appendix of Forms. The form states the claims and issues Wright intends to present on appeal. It

also shows that Wright’s monthly income just covers his monthly expenses. Payment of the

appellate filing fee would cause undue hardship. Accordingly, IT IS ORDERED the application

to proceed without prepayment of fees [DE 133] is GRANTED.




               September 20, 2023




Copies to:    Defendant, pro se
              Sixth Circuit Court of Appeals, Case No. 23-5795

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